                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                            DOCKET NO. 3:00-cr-210-002-1FDW


 UNITED STATES OF AMERICA,                    )
                                              )
                 v                            )
                                              )
                                              )                  ORDER
 MARY ALICE AVERY,                            )
                                              )
               Defendant.                     )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 239) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2). Defendant’s motion is DENIED

because no reduction as the guideline range remains unchanged due to the mandatory statutory

minimum sentence, as stated in Doc. # 224.

       IT IS SO ORDERED.

                                             Signed: February 2, 2010




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